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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

Criminal Action No. 21-cr-00229-RBJ

UNITED STATES OF AMERICA,

      Plaintiff,
v.

1. DAVITA INC.,
2. KENT THIRY,

      Defendants.



              UNITED STATES’ MOTION FOR A PROTECTIVE ORDER
              GOVERNING DISCLOSURE OF DISCOVERY MATERIALS


      Pursuant to Rules 16(d)(1) and 49.1(e) of the Federal Rules of Criminal

Procedure, the United States files this Motion for a Protective Order Governing

Disclosure of Discovery Materials. The protective order proposed by the United States

is attached hereto as Exhibit A.

      The United States has readied the bulk of its anticipated discovery for production

to Defendants and stands ready to produce it pursuant to an appropriate protective

order. Given the nature of the charges and anticipated discovery, a protective order is

necessary in this case. Defendants DaVita Inc. and Kent Thiry, DaVita’s former CEO,

are charged with two counts of violating the Sherman Antitrust Act, 15 U.S.C. § 1, by

conspiring with DaVita’s competitors to refrain from soliciting employees. As a result of

these allegations, the discovery that the United States plans to produce includes

employee personally identifying information (PII), including social security numbers and




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addresses, employee salary information, and confidential business information, among

other types of sensitive information.

       To address these confidentiality concerns, the United States proposed a

protective order to Defendants prior to the initial appearance and arraignment.

Importantly, the protective order that the government proposed would not restrain

Defendants’ ability to use the discovery in preparing a defense by, for example, showing

discovery to witnesses, experts, or mock jurors. In fact, the order proposed by the

United States expressly allows the defense to use discovery for these purposes.

Nonetheless, Defendants raised objections to the government’s proposal, and while

certain objections were resolved through the meet and confer process, two primary

issues remain. First, whereas the United States submits that all discovery should be

governed by a protective order, Defendants propose that the government should be

required to review millions of potentially discoverable documents to identify those items

that contain “[c]onfidential, commercially sensitive, or proprietary business information.”

Second, while Defendants propose that any filing referencing or attaching protected

discovery must be treated as restricted Level 1 regardless of the sensitivity of the

information, the government submits that Defendants should be required to confer

before publicizing any discovery and the United States would move the court for further

protection from public disclosure only if necessary. For the reasons set forth below, the

Court should enter the United States’ proposed order and should decline to adopt

Defendants’ proposed modifications, which are unworkable and would result in more

under seal filings.




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                                     BACKGROUND

       On July 14, 2021, a federal grand jury in this district indicted Defendants DaVita

Inc. and Kent Thiry, the former CEO of DaVita, charging them with two counts of

conspiring with other competing employers to suppress competition between them by

agreeing to employee non-solicitation agreements, in violation of Section 1 of the

Sherman Act, 15 U.S.C. § 1. The indictment alleges that each conspiracy was a per se

unlawful restraint of interstate trade and commerce. Count 1 alleges a conspiracy

between Defendants and the related companies Surgical Care Affiliates, LLC and SCAI

Holdings, LLC (collectively, SCA). Indict. ¶¶ 1-10.

       A grand jury sitting in the Northern District of Texas previously indicted SCA this

year, charging them with two counts of conspiring to violate Section 1 of the Sherman

Act. ECF No. 1, United States v. Surgical Care Affiliates, LLC, et al., No. 3:21-cr-

00011-L (N.D. Tex. Jan. 5, 2021). Count 1 against Defendants here charges the same

conspiracy as that charged against SCA in Count 2 in the Northern District of Texas.1

The parties to the Surgical Care Affiliates matter submitted to the Court an agreed

protective order that is materially the same as what the government proposed to

Defendants Thiry and DaVita. On January 28, 2021, the Hon. Sam A. Lindsay entered

that order, which is attached hereto as Exhibit B.2




1
  The conduct charged in Count 2 against Defendants here involves a company and
alleged co-conspirators that are not related to SCA, and the conduct charged in Count 1
against SCA in the Northern District of Texas involves a company and alleged co-
conspirators that are not related to DaVita. The charges against Defendants DaVita
and Thiry are properly venued in the District of Colorado, the headquarters location of
DaVita while Mr. Thiry was its CEO during the charged time periods.
2
  The proposed protective order here differs only with respect to modifications
requested by Defendants during the meet and confer process and an additional
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       The United States stands ready to produce discovery to Defendants upon entry

of the proposed protective order. The potentially discoverable material in this case is

voluminous, at least a million-and-a-half documents, and replete with confidential

information. The bulk of potentially discoverable material consists of grand jury returns

from subpoenas issued to multiple companies, including competitors of DaVita and

SCA. None of these subpoena returns were marked by the producing party on a

document-by-document basis for confidentiality, but companies did request confidential

treatment pursuant to Federal Rule of Criminal Procedure 6(e) to protect grand jury

material from public disclosure. The potential discovery also includes grand jury

transcripts and FBI 302 reports of witness examinations.

       The subpoena returns and other potentially discoverable information includes

documents containing PII, including social security numbers, dates of birth, and other

protected information, some individually identifiable health information, and confidential

business information, including financial records that contain payment records and

account numbers, salary information, competitively-sensitive business information, and

other sensitive personal and confidential business information. All of this information,

which Defendants acknowledge deserve protection (albeit on a document-by-document

basis) is comingled with other documents potentially subject to discovery. It may also

comprise only portions of longer documents—for example, one sentence in a long e-

mail, or one page of a lengthy presentation.




provision added by the United States to address concerns over civil discovery that
arose after follow-on civil litigation was filed.
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       The potentially discoverable material also includes subpoena returns and other

material pertinent to the United States’ ongoing investigation into, inter alia, additional

conduct engaged by Defendants with respect to other companies.

                                        ARGUMENT

       This Court has express authority to enter protective orders to govern criminal

discovery. Fed. R. Crim. P. 16(d)(1) (“At any time the court may, for good cause, deny,

restrict, or defer discovery or inspection, or grant other appropriate relief.”); see also

Fed. R. Crim. P. 49.1(e) (“For good cause, the court may by order in a case: (1) require

redaction of additional information; or (2) limit or prohibit a nonparty’s remote electronic

access to a document filed with the court.”). Indeed, “[a] trial court can and should,

where appropriate, place a defendant and his counsel under enforceable orders against

unwarranted disclosure of the materials which they may be entitled to inspect.”

Alderman v. United States, 394 U.S. 165, 185 (1969). Rule 16(d) “gives district courts

the discretion to determine the circumstances ‘under which the defense may obtain

access to discoverable information.’” United States v. DeLeon, 428 F. Supp. 3d 716,

756 (D.N.M. 2019) (quoting In re Terrorist Bombings of U.S. Embassies in E. Africa, 552

F.3d 93, 122 (2d Cir. 2008)). The Rule “is ‘permissive’ and gives district courts the

ability to ‘limit or otherwise regulate discovery pursuant to Rule [16(d)(1) ].’” Id. (quoting

United States v. Delia, 944 F.2d 1010, 1018 (2d Cir. 1991)).

       1.     Any Protective Order Requiring a Document-By-Document
              Confidentiality Designation Is Unworkable, Unnecessary, and Will
              Delay Production of Discovery.

       The proposed Protective Order will serve the fundamental interest of the Court

and the parties in the prompt and efficient disclosure of discovery to Defendants by



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eliminating the need for a document-by-document evaluation of the relevance and

sensitivity of the information contained in the Protected Materials. During meet and

confer engagements, Defendants indicated that the government’s proposed protective

order should be modified to impose upon the United States an obligation to designate

particular documents that contain “[c]onfidential, commercially sensitive, or proprietary

business information.” But this proposal would be completely unworkable given that the

vast majority of the potentially discoverable documents at issue in this case originated

from multiple third parties with different business models and operations. A document’s

sensitivity is not always obvious on its face and the lawyers for the United States are

simply unable to determine whether any given third party would consider any one of

over a million documents to contain “[c]onfidential, commercially sensitive, or proprietary

business information.”

       Any arrangement which would require the third parties to comb through

universes of documents that they produced to identify individual sensitive documents

would impose an undue burden upon the producing parties, many of whom are DaVita’s

competitors. Doing so would be an extraordinarily labor-intensive process, which would

surely upset the case schedule proposed by the litigants in this matter.3 Given that only

a small subset of the documents which comprise the total universe of discovery will

actually be at issue in the case, any process which requires a review of every document

produced in discovery would impose an oppressive and ultimately unnecessary burden

on both the United States and the producing parties.




3
 If the Court were to adopt the government’s proposed discovery order, the government
would be able to produce discovery within days.
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       Rather than imposing a system of document-by-document review, the Court

should endorse the government’s proposal, which protects all documents produced in

discovery. This approach is consistent with how other courts have protected sensitive

documents in document-intensive white-collar crime prosecutions, including the order

that the Hon. Sam A. Lindsay entered in the closely-related United States v. Surgical

Care Affiliates, LLC matter.4 See Ex. B; Protective Order ¶ 2, ECF No. 22, United

States v. Harwin, No. 20-cr-00115 (M.D. Fla. Oct. 2, 2020) (“This Protective

Order . . . applies to the discovery materials produced by the government . . . .”); Order

on Mot. for a Protective Order ¶ 1, ECF No. 29, United States v. Gaines, No. 20-cr-020

(D. Minn. Feb. 25, 2020) (“‘Protected Material’ includes all information produced by the

government in this case, except matters of public record, the defendant’s own

statements and records, and the defendant’s criminal history information.”). Given that

the government’s proposed protective order does not restrain Defendants from using

discovery to defend against the charges, by, for example, using discovery as trial

exhibits or showing such documents to witnesses or experts, neither Defendant is able

to articulate any prejudice resulting from a regime that protects all discovery.

       The unique circumstances of another Antitrust Division matter in this district,

which Defendants have referenced as support for their proposal, show why the United

States’ proposal is necessary here. In United States v. Penn, No. 1:20-cr-00152-PA (D.

Colo.), the indictment followed a related private, civil antitrust action. In large part, the



4
 Indeed, a protective order that departs substantially from the order entered by Judge
Lindsay in the Surgical Care Affiliates matter, which is what the defendants are seeking,
would prejudice the United States. Doing so would require the United States to treat
overlapping sets of discovery differently in two factually similar matters proceeding in
different districts.
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third-party documents subject to criminal discovery in Penn had already been produced

in the civil action, and as such the third-parties had already made document-by-

document confidentiality designations pursuant to the civil protective order. Therefore,

the United States took no issue with affording further protection to certain categories of

confidential documents because those documents were already marked as confidential

on a document-by-document basis by owner of those documents.

       2.        Defendants’ Proposal Would Result in All Discovery Filed Under
                 Seal.

       The United States’ proposed protective order would not require any document to

be redacted or filed under seal, and does not contemplate automatic redaction or

sealing with respect to confidential business records, unlike Defendants’ proposal.

Rather, the United States’ proposes that Defendants provide the United States with

notice prior to publicly disclosing documents they received through criminal discovery,

which affords the United States the opportunity to seek an additional order sealing or

redacting the information if necessary.5 This provision would allow the United States to

move to protect from public disclosure, for example, a document that could tip off a third

party about the existence, scope, or direction of the United States’ ongoing criminal

investigation.

       Defendants’ proposal, on the other hand, would require a party seeking to

reference a document marked as “confidential” to either redact that reference or file the



5
 The United States’ proposal on this point is also the same as that already entered in the
Surgical Care Affiliates matter applicable to Defendants’ alleged co-conspirators, SCA.
Compare Ex. A ¶ f. with Ex. B ¶ f. By entering Defendants’ proposal, documents could
be filed under seal on this Court’s docket that would otherwise be publicly filed on the
Surgical Care Affiliates docket. Entering the United States’ protective order would ensure
consistency and equal treatment between two similarly situated alleged co-conspirators.
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pleading under seal. This proposal assumes that all “confidential” documents can be

individually designated as such, which, as the United States demonstrated above, is

unworkable. Defendants’ proposal would undoubtedly lead to more filings under seal

and further motions practice over whether documents or motions should be filed under

seal. In contrast, the United States’ proposal envisions limited motions practice where

necessary to protect the United States’ interests.

                                     CONCLUSION

      Defendants cannot identify any meaningful prejudice to their defense that would

result from the entry of the protective order sought by the United States. Accordingly,

the Court should enter this order.



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                              CERTIFICATE OF SERVICE

       I certify that on August 10, 2021, I filed this document with the Clerk of the Court

 for the United States District Court of Colorado using the CM/ECF system, which will

 serve this document on all counsel of record.

                                                 s/ Anthony W. Mariano
                                                 Anthony W. Mariano




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